
29 N.Y.2d 836 (1971)
Armando Tucci et al., Appellants,
v.
State of New York, Respondent. (Claim No. 40955.)
Court of Appeals of the State of New York.
Argued November 16, 1971.
Decided December 1, 1971.
Louis Weiner for appellants.
Louis J. Lefkowitz, Attorney-General (Richard A. Foster and Ruth Kessler Toch of counsel), for respondents.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL and JASEN. Taking no part: Judge GIBSON.
Upon appeal by claimant Tucci: Order affirmed, without costs, on the opinion at the Appellate Division.
Appeal by deceased claimant Terenzi dismissed, without costs, upon the ground that a representative has not been substituted for said decedent.
